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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 14-cv-01791-MEH

LAWRENCE HAMPTON,

       Plaintiff,

v.

NOVA CASUALTY COMPANY,

      Defendant.
______________________________________________________________________________

                                  MINUTE ORDER
______________________________________________________________________________
Entered by Michael E. Hegarty, United States Magistrate Judge, on January 23, 2015.

      The Stipulated Motion to Amend Scheduling Order [filed January 22, 2015; docket #29] is
granted. For good cause shown, paragraph 9 of the Scheduling Order [docket #20] in this case shall
be modified as follows:

b.      Discovery Cut-off:                   March 30, 2015

c.     Dispositive Motions Deadline:         April 27, 2015
